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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA,                             :         Criminal No. 3:14CR00049(AWT)
                                                      :
v.                                                    :
                                                      :
DANIEL HAMLETT, JR.                                   :         August 19, 2014
                                                      :
------------------------------------------------------x

                                       MOTION FOR CONFERENCE

        The defendant, Daniel Hamlett, Jr., hereby requests that the Court schedule a conference,

with the defendant present, to discuss the recently received competency evaluation report and, if

appropriate, to set a schedule for the filing of substantive motions, jury selection and trial.

        Mr. Hamlett is currently detained at the Wyatt Detention Center. He has filed a motion for

release on bond, which was initially denied by United States Magistrate Judge Donna F. Martinez.

Mr. Hamlett has filed a supplemental proposal for release on bond which would provide a custodian

who would be available at all times. The Court has yet to rule on this new proposal.

        Mr. Hamlett was arrested in March 2014. His co-defendant, who is also his father, remains

at large. Mr. Hamlett continues to struggle to understand how the evidence against him can be

sufficient to detain him. However, the competency evaluation has determined that he is competent

to assist in his own defense. Accordingly, the parties must move forward.

        For the reasons set forth herein, Mr. Hamlett respectfully requests that the Court schedule an

in-court conference, with the defendant present.




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                                              Respectfully submitted,

                                              The Defendant,
                                              Daniel Hamlett, Jr.

                                              Office of the Federal Defender


Dated: August 19, 2014                        /s/ Sarah A. L. Merriam
                                              Sarah A. L. Merriam
                                              Assistant Federal Defender
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 19, 2014, a copy of the foregoing Motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.


                                                  /s/ Sarah A. L. Merriam
                                                     Sarah A. L. Merriam




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